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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK
                                   BROOKLYN DIVISION


   IN RE: EXACTECH POLYETHYLENE                          1:22-md-03044 (NGG) (MMH)
   ORTHOPEDIC PRODUCTS LIABILITY
   LITIGATION                                            MDL No. 3044

                                                         Judge Nicholas G. Garaufis
   THIS DOCUMENT APPLIES TO:                             Magistrate Judge Marcia M. Henry

   ALL CASES



                              CASE MANAGEMENT ORDER NO. 1

         For good cause shown and the parties having consented to the form, substance, and entry

  of this Order, it is on this 25th day of January 2023 Ordered:

         1.      Master and Short Form Complaints. The Plaintiffs’ Executive Committee

  (“PEC”) will file the Master Complaint by January 26, 2023 and submit the Short Form Complaint

  by February 2, 2023. Any Plaintiff who filed a Complaint in this MDL or had a Complaint

  transferred to this MDL shall file a Short Form Complaint in the Plaintiff’s individual docket by

  February 26, 2023.

         2.      Master and Short Form Answers. The Defendants shall file a Master Answer to

  the Master Complaint by March 13, 2023.        All allegations in the Short Form Complaints are

  hereby deemed denied and Defendants are not required to file Answers to Short Form Complaints

  until further Order of the Court.

         3.      Electronic Service Order. The parties have agreed upon and submitted a stipulated

  Electronic Service Order, which the Court entered on January 25, 2023.
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          4.     Preservation of Explants. The Parties shall meet and confer on a potential protocol

  for the preservation of pathology specimens, explanted medical devices and unused medical

  devices and shall include a status update in their joint status report by March 13, 2023.

          5.     Master Document Production. The PEC will maintain a document depository

  (“MDL Document Depository”) for the use of Plaintiffs in these MDL proceedings. Production to

  the MDL Document Depository by Defendants shall be deemed sufficient to constitute production

  to all Plaintiffs in this MDL. Defendants will produce the document productions previously

  produced in cases coordinated on the Exactech Master Case docket (Case No. 01-2022-CA-2670)

  in the Eighth Judicial Circuit of Florida, Alachua County by February 27, 2023. The parties are

  meeting and conferring on the production of documents produced in other cases involving

  Exactech knees and hips, and shall include a status update in their joint status report by March 13,

  2023.

          6.     Written Discovery. All discovery propounded to Defendants and non-party

  witnesses by Plaintiffs in this MDL shall be undertaken by, or under the direction of, the PEC on

  behalf of all Plaintiffs with cases in these MDL proceedings. All deadlines for responding to

  discovery previously propounded to Defendants by Plaintiffs in this MDL are hereby suspended.

          7.     Science Day. The parties shall meet and confer on the protocol for an in-person,

  off-the-record background tutorial regarding the products at issue and science relevant to this

  litigation. The Court will provide the parties available dates for Science Day in coordination with

  the State Court action in Alachua County, if feasible. A separate order will follow regarding the

  date and time of the Science Day presentation.




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        8.    The next status conference will occur on March 23, 2023 at 2:30 PM by video.

  IT IS SO ORDERED.

  DATED: January 25, 2023


                                                         The Honorable Marcia M. Henry
                                                         United States Magistrate Judge




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